Case 17-11213 Doc 639 Filed 07/17/19 Entered 07/17/19 16:15:50 Main Document Page 1 of 8



                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA


   IN RE:

   FIRST NBC BANK HOLDING COMPANY                                       CASE NO. 17-11213

                                                                        SECTION A

          DEBTOR                                                        CHAPTER 11

                     MOTION TO DETERMINE AMOUNT OF CLAIM OF
                      GEORGE L. JOURDAN ENTITLED TO PRIORITY
            Now into Court, through undersigned counsel, comes First NBC Bank Holding

    Company, as debtor and debtor-in-possession (the “Debtor”), which hereby seeks a

    determination by the Bankruptcy Court, pursuant to Rule 3012 of the Federal Rules of

    Bankruptcy Procedure (“Bankruptcy Rules”), of the amount of the priority claim of George L.

    Jourdan (“Claimant”); and, in support thereof, respectfully represents as follows:

                                                   1.

                                           BACKGROUND

    CHAPTER 11 CASE

          On April 28, 2017 (the “Bank Closing Date”), the Louisiana Office of Financial Institutions

   closed First NBC Bank, a wholly owned subsidiary of the Debtor, and named the Federal Deposit

   Insurance Corporation as Receiver (“FDIC-R”) for the Bank.

                                                   2.

          On May 11, 2017 (the “Petition Date”), the Debtor filed a voluntary petition for relief under

   chapter 11 of title 11 of the U.S. Code (the “Bankruptcy Code”), commencing the above-captioned

   bankruptcy case (“Bankruptcy Case”).
Case 17-11213 Doc 639 Filed 07/17/19 Entered 07/17/19 16:15:50 Main Document Page 2 of 8



                                                  3.

          On May 23, 2017, the Office of the U.S. Trustee appointed an Official Committee of

   Unsecured Creditors (the “Committee”).

                                                  4.

          On April 17, 2019, the Debtor and the Committee (collectively, “Plan Proponents”) filed a

   Joint Plan of Reorganization [Doc. 553] (as amended, “Joint Plan”); and, on the same date, the

   Debtor filed an accompanying Disclosure Statement [Doc. 554] (as amended, “Disclosure

   Statement”).

                                                  5.

          Following a hearing on June 12, 2019 and subsequent amendments to the Joint Plan and

   Disclosure Statement, the Disclosure Statement was ultimately approved by Order entered on July

   3, 2019 [Doc. 624]. Through the same Order, the Court formally established August 7, 2019 as the

   hearing date for plan confirmation.

                                                  6.

   THE NQDC PLAN

          The Debtor was the sponsor and administrator of the First NBC Bank Holding Company

   Deferred Compensation Plan, an unfunded, non-qualified deferred compensation arrangement first

   effective as of June 30, 2012 (the “NQDC Plan"). On the same date, the First NBC Bank Holding

   Company Deferred Compensation Trust (“NQDC Trust”) was established as a grantor trust for the

   purpose of accumulating funds to satisfy the Debtor’s or Debtor’s affiliate’s benefit obligations

   under the NQDC Plan. A copy of the Trust Agreement (the “NQDC Trust Agreement”) governing

   the NQDC Trust is attached hereto as Exhibit B. At the time this case was commenced, the Debtor

   maintained the NQDC Trust with Whitney Bank (“Whitney”) serving as the successor Trustee for

                                                  2
Case 17-11213 Doc 639 Filed 07/17/19 Entered 07/17/19 16:15:50 Main Document Page 3 of 8



   same; and, the NQDC Trust’s funds were invested with Nationwide Financial (“Nationwide”)

   which in turn invested the funds in various securities.

                                                     7.

          Section 5 of the NQDC Trust Agreement instructs the Trustee to apply property of the

   NQDC Trust solely to satisfy the Debtor’s or Debtor’s affiliate’s benefit obligations under the

   NQDC Plan and further provides that the Debtor has no right or power to direct the Trustee to

   return the funds of the NQDC Trust to the Debtor until all obligations under the NQDC Plan have

   been satisfied. However, under the express provisions of Sections 6 and 7 of the NQDC Trust

   Agreement, the funds of the NQDC Trust constitute general assets of the Debtor available to satisfy

   the claims of the Debtor’s general creditors in the event of the Debtor’s insolvency. Consequently,

   the assets of the NQDC Trust became property of the Debtor’s estate upon commencement of this

   Chapter 11 Case.

                                                     8.

          Provisions allowing for funds of deferred compensation plans to be used to pay a

   company’s creditors are standard for plans such as the NQDC Plan in order to maintain the

   associated tax advantages:

           “An unfunded arrangement is one where the employee has only the employer's "mere
   promise to pay" the deferred compensation benefits in the future, and the promise is not secured
   in any way. The employer may simply keep track of the benefit in a bookkeeping account, or it
   may voluntarily choose to invest in annuities, securities, or insurance arrangements to help fulfill
   its promise to pay the employee. Similarly, the employer may transfer amounts to a trust that
   remains a part of the employer's general assets, subject to the claims of the employer's creditors if
   the employer becomes insolvent, in order to help keep its promise to the employee. To obtain the
   benefit of income tax deferral, it is important that the amounts are not set aside from the employer's
   creditors for the exclusive benefit of the employee. If amounts are set aside from the employer's
   creditors for the exclusive benefit of the employee, the employee may have currently includible
   compensation.” Internal Revenue Service, “Nonqualified Deferred Compensation Audit
   Techniques Guide (June2015)”, https://www.irs.gov/businesses/corporations/nonqualified-
   deferred-compensation-audit-techniques-guide.

                                                     3
Case 17-11213 Doc 639 Filed 07/17/19 Entered 07/17/19 16:15:50 Main Document Page 4 of 8



                                                  9.

          Shortly after the Petition Date, the NQDC Trust was terminated and its investments were

   liquidated and the funds (“NQDC Funds”) derived therefrom ($593,686.84) were transferred to

   Whitney, as successor trustee. On August 18, 2017, the Debtor filed a Motion for Turnover of

   Property of the Estate [Doc.91], requesting turnover of the NQDC Funds by Whitney. The

   Turnover Motion was granted on August 22, 2017 (“Turnover Order”). Thereafter, on August 29,

   2017, the Federal Deposit Insurance Corporation as Receiver for First NBC Bank (“FDIC-R”)

   filed a motion to reconsider the Turnover Order, which was ultimately resolved through a Court-

   approved settlement between the Debtor and FDIC-R [Doc. 153]. That settlement resulted in a

   division of the NQDC Funds between the Debtor and the FDIC-R.

                                                  10.

                                      LAW AND ARGUMENT

          A.     Valuation of the Priority Amount of the NQDC Claim is Necessary to facilitate
                 consummation of the Plan.

          On June 12, 2017, Claimant filed proof of claim no. 3, asserting a priority claim of

   $342,241.46 against the Debtor’s estate (the “NQDC Claim”) Exhibit A.

                                                  11.

          The Joint Plan currently includes a class, i.e., Class 1, comprised exclusively of the NQDC

   Claims to the extent such claims are entitled to priority treatment under Section 507 of the

   Bankruptcy Code. Under the Plan, Allowed Class 1 Claims are entitled to payment in full on the

   later of the Effective Date of the Joint Plan or the date on which the Class 1 Claim becomes an

   Allowed Claim.

                                                  12.

          As set forth in the Disclosure Statement, the Debtor maintains that none of the NQDC
                                                   4
Case 17-11213 Doc 639 Filed 07/17/19 Entered 07/17/19 16:15:50 Main Document Page 5 of 8



   Claims filed are entitled to priority treatment under 11 U.S.C. §507. The Debtor hereby seeks a

   determination by this Court as to the amount, if any, of the NQDC Claim that is entitled to priority.

                                                   13.

          Bankruptcy Rule 3012 provides in pertinent part:

          “On request by a party in interest and after notice – to the holder of the claim and any other

   entity the court designates – and a hearing, the court may determine:

          …

          (2) the amount of a claim entitled to priority under §507 of the Code.” Bankruptcy Rule

          3012(a)(2).

                                                   14.

          The Debtor believes that valuation of the NQDC Claim will facilitate payments to all other

   administrative and priority claims and the transfer of the balance of estate funds to the Litigation

   and Distribution Trust.

                                                   15.

          B.      The priority amount of the NQDC Claim should be valued at zero.

          Through the NQDC Claim, Claimant asserts the claim is entitled to priority under §507(a).

   However, as set forth in the NQDC Trust Agreement, NQDC Trust beneficiaries or NQDC Plan

   participants are only entitled to a general unsecured claim for funds accumulated in the NQDC

   Trust. See Section 1.4 of the NQDC Trust Agreement.

                                                   16.

          While the Claimant may be entitled to a Class 2 general unsecured claim, no amount of the

   NQDC Claim is entitled to priority treatment under 11 U.S.C. §507(a).



                                                    5
Case 17-11213 Doc 639 Filed 07/17/19 Entered 07/17/19 16:15:50 Main Document Page 6 of 8



                                                     17.

           The Debtor and its successors hereby reserve all rights to object to allowance of the NQDC

   Claim and any other claims filed by Claimant.

                                              CONCLUSION

           While Claimant may have a valid general unsecured claim against the Debtor’s estate,

   under the terms of the NQDC Trust Agreement, governing such claims, none of the NQDC Claim

   is entitled to priority under 11 U.S.C. §507(a). Accordingly, the priority amount of the NQDC

   Claim must be valued at zero.

           WHEREFORE, the Debtor prays that this Honorable Court enter an order finding that the

   amount of the NQDC Claim entitled to priority under 11 U.S.C. §507(a) is zero; and, for any and

   all other relief to which it may be entitled.

                                                   Respectfully submitted by:

                                                   /s/ Barbara B. Parsons
                                                   William E. Steffes, #12426
                                                   Barbara B. Parsons, #28714
                                                   THE STEFFES FIRM, LLC
                                                   13702 Coursey Boulevard Building 3
                                                   Baton Rouge, LA 70817
                                                   Telephone: (225) 751-1751
                                                   Facsimile: (225) 751-1998
                                                   Email: bparsons@steffeslaw.com
                                                   Counsel for First NBC Bank Holding Company, Debtor




                                                      6
Case 17-11213 Doc 639 Filed 07/17/19 Entered 07/17/19 16:15:50 Main Document Page 7 of 8



                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF LOUISIANA

   IN RE:

   FIRST NBC BANK HOLDING COMPANY                                                  CASE NO. 17-11213

                                                                                   SECTION A

            DEBTOR                                                                 CHAPTER 11
                                         CERTIFICATE OF SERVICE
            I hereby certify that a copy of the foregoing Motion to Determine Amount of Claim of George

   L. Jourdan Entitled to Priority has been served via Email through this Court’s CM/ECF Electronic

   Notification System upon the following parties:

   Sam J. Alberts on behalf of Interested Party Federal Deposit Insurance Corporation (FDIC) as Receiver for First
   NBC Bank sam.alberts@dentons.com

   Serajul Ferdows Ali on behalf of Interested Party United States of America/Treasury serajul.ali@usdoj.gov

   A. Brooke Watford Altazan on behalf of Creditor Committee Official Unsecured Creditors' Committee
   baltazan@stewartrobbins.com

   Brian M. Ballay on behalf of Interested Party Directors and Former Directors Group
   bballay@bakerdonelson.com

   Jerry A. Beatmann on behalf of Interested Party Federal Deposit Insurance Corporation (FDIC) as Receiver for First
   NBC Bank jay.beatmann@dentons.com

   Ward Benson on behalf of Interested Party United States of America on behalf of the Internal Revenue Service
   ward.w.benson@usdoj.gov, southern.taxcivil@usdoj.gov

   Nicholas H. Berg on behalf of Interested Party Lawrence Blake Jones nberg@reasonoverllc.com

   Brandon A. Brown on behalf of Creditor Committee Official Unsecured Creditors' Committee
   bbrown@stewartrobbins.com

   Christopher T. Caplinger on behalf of Creditor Lead Plaintiffs in Securities Class Action ccaplinger@lawla.com

   Edward Castaing, Jr. on behalf of Interested Party Ryan J. Ashton ecastaing@cclhlaw.com

   Robin B. Cheatham on behalf of Creditor Florida Parishes Bank cheathamrb@arlaw.com

   Leo D. Congeni on behalf of Interested Party Doug Smith, derivatively and on behalf of First NBC Bank Holding
   Company leo@congenilawfirm.com

   Nancy Scott Degan on behalf of Interested Party Directors and Former Directors Group
   ndegan@bakerdonelson.com

                                                            7
Case 17-11213 Doc 639 Filed 07/17/19 Entered 07/17/19 16:15:50 Main Document Page 8 of 8




   Jonathan Edwards on behalf of Interested Party Mary Beth Verdigets and Jonathan.Edwards@alston.com

   Elizabeth J. Futrell on behalf of Creditor David W. Anderson efutrell@joneswalker.com

   Amanda Burnette George on behalf of U.S. Trustee Office of the U.S. Trustee amanda.b.george@usdoj.gov

   Aaron Benjamin Greenbaum on behalf of Interested Party Mary Beth Verdigets aaron.greenbaum@pjgglaw.com

   Jan Marie Hayden on behalf of Interested Party Lawrence Blake Jones jhayden@bakerdonelson.com

   John M. Landis on behalf of Creditor Gregory St. Angelo jlandis@stonepigman.com

   Michael E. Landis on behalf of Creditor Renewal Capital Company, LLC mlandis@gamb.law

   Alysson Leigh Mills on behalf of Interested Party Ryan J. Ashton amills@fishmanhaygood.com

   Andrew M Reidy on behalf of Interested Party Federal Deposit Insurance Corporation (FDIC) as Receiver for First
   NBC Bank areidy@lowenstein.com

   Ryan James Richmond on behalf of Creditor Committee Official Unsecured Creditors' Committee
   rrichmond@stewartrobbins.com

   Lacey E Rochester on behalf of Interested Party Directors and Former Directors Group
   lrochester@bakerdonelson.com

   David Rubin on behalf of Other Prof. Interested Party drubin@kswb.com

   Susan R. Sherrill-Beard on behalf of Interested Party U.S. Securities and Exchange Commission
   sherrill-beards@sec.gov

   Paul Douglas Stewart, Jr. on behalf of Creditor Committee Official Unsecured Creditors' Committee
   dstewart@stewartrobbins.com

   Office of the U.S. Trustee USTPRegion05.NR.ECF@usdoj.gov

   R. Patrick Vance on behalf of Creditor David W. Anderson pvance@joneswalker.com

   Stephen L. Williamson on behalf of Creditor Renewal Capital Company, LLC swilliamson@gamb.law

           I hereby further certify that a copy of the motion has been served upon George L. Jourdan, 19

   Briarfield Drive, Marrero, LA 70072, by depositing same in the U.S. Mail, postage prepaid and

   properly addressed.

           Baton Rouge, Louisiana, this 17th day of July, 2019.

                                               /s/ Ashley D. Kujawa
                                                 Ashley D. Kujawa

                                                          8
